                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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UNITED STATES OF AMERICA,

                       Plaintiff,                     Case No. 05-CR-277

               vs.                                    Green Bay Division

JUAN C. BEJAR,
CARLOS A. GAMEZ a/k/a
CARLOS GAMEZ-GONZALEZ,
JASON U. O’CLAIRE,
JENNIFER A. BOEDER, and
CHRISTIAN A. FRUHWIRTH,

                  Defendants.
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                   PRELIMINARY ORDER OF FORFEITURE
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       Upon the motion of the United States of America pursuant to Rule 32.2 of the Federal Rules

of Criminal Procedure, and upon the entry of the plea agreements, and in consideration of the guilty

pleas of the above-named defendants Juan C. Bejar to Count One of the Indictment, Carlos A.

Gamez to Counts One and Ten of the Indictment, Jason U. O’Claire to Count One of the

Information, Jennifer A. Boeder to Count One of the Indictment, and Christian A. Fruhwirth to

Count One of the Indictment, the defendants agree to the forfeiture of their interest in properties

named in the forfeiture provision of the Indictment filed November 15, 2005, and the Information

filed February 15, 2006;

       IT IS HEREBY ORDERED that any right, title and interest of the defendants in the

properties described below is hereby forfeited to the United States pursuant to Title 21, United

States Code, Section 853, and Title 18, United States Code, Section 924(d):




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       1.      $8,234.00 in United States currency seized from defendant Bejar on or about
               September 8, 2005;

       2.      A 2002 Dodge truck, VIN: 3D7HA18Z92G192404, seized from defendant Bejar on
               or about September 8, 2005;

       3.      $1,198.00 in United States currency seized from defendant Gamez’s residence at
               223½ Thorne Street, Ripon, Wisconsin, on or about September 9, 2005;

       4.      A .38 caliber Iver Johnson Arms and Cycle Works revolver, serial number 86016,
               and approximately 53 rounds of .38 caliber ammunition, seized from defendant
               Gamez’s 1993 Chevrolet truck and from defendant Gamez’s residence at 223½
               Thorne St., Ripon, on or about September 9, 2005; and

       5.      $1, 230.00 in United States currency seized from the residence of Jesus Rodriguez
               Salgado at 2213 E. John St., Appleton, Wisconsin, on or about September 9, 2005.


       IT IS FURTHER ORDERED that the above items shall be seized forthwith by the United

States Marshal for the Eastern District of Wisconsin, or its duly authorized representative.

       IT IS FURTHER ORDERED that pursuant to Title 21, United States Code, Section

853(n)(1) the United States shall publish notice of this order and of its intent to dispose of the

properties according to law.

       IT IS FURTHER ORDERED that this Order be incorporated by reference in their respective

Judgment and Commitment Orders.

       Dated at Green Bay, Wisconsin, this    28th   day of February, 2006.




                                          s/ William C. Griesbach
                                          HONORABLE WILLIAM C. GRIESBACH
                                          United States District Judge




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